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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                               ________________________

In re:
                                                Case No. 21-00524-jwb
LARRY ALLEN CLUCHEY,
                                                Chapter 7
                        Debtor.
_______________________________________/

WORLD ENERGY INNOVATIONS,
LLC, f/d/b/a WORTHINGTON ENERGY
INNOVATIONS, LLC,

                              Plaintiff,

         v.                                     Adversary Proceeding No. 21-80053-jwb

LARRY ALLEN CLUCHEY,
SHERRY D. CLUCHEY,

                        Defendants.
_______________________________________/

               PLAINTIFF’S RESPONSE IN OPPOSITION TO
  DEFENDANT LARRY ALLEN CLUCHEY’S MOTION TO DISMISS COUNT I,
COUNT II, COUNT III, COUNT IV, COUNT V, COUNT VI, AND COUNT VII OF THE
                   INSTANT ADVERSARY PROCEEDING
                         [RELATED TO DOC # 11]

         Plaintiff, World Energy Innovations, LLC, formerly doing business as Worthington Energy

Innovations, LLC (“WEI”), by and through undersigned counsel, hereby submits the following

response in opposition to Defendant Larry Allen Cluchey’s Motion to Dismiss Count I, Count II,

Count III, Count IV, Count V, Count VI, and Count VII of the Instant Adversary Proceeding (the

“Motion to Dismiss”) as follows:

                                     Preliminary Statement

         1.     The arguments made in the Motion to Dismiss ignore applicable precedent of the

United States Court of Appeals for the Sixth Circuit and should be summarily denied. Determining
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whether Plaintiff, WEI holds a nondischargeable claim against Mr. Cluchey (“Debtor”) is a

“two-step process”; the first step being a determination of the validity of the claim under state law,

and the second step being the determination of nondischargeability under federal law. Ohio

Casualty Ins. Co. v. Hryhorchuk (In re Hryhorchuk), 211 B.R. 647, 650 (Bankr. W.D. Tenn. 1997)

(citing Grogan v. Garner, 498 U.S. 279, 282, 111 S.Ct. 654, 657, 112 L.Ed.2d 755 (1991)). This

adversary proceeding is the very type of action approved by the Sixth Circuit in Longo v. McLaren

(In re McLaren), 3 F.3d 958, 965 (6th Cir. 1993), which this Court followed in State of Michigan

v. Green (In re Green), 556 B.R. 853, 858 (Bankr. W.D. Mich. 2016) (Boyd, J.).

        2.       WEI has already obtained a judgment against Debtor’s wholly controlled and

operated1 business, American Research Products, Inc. (“ARP”) for breach of contract and fraud in

the amount of $1,938,150.27.            See Complaint at 37-38, ¶¶ 154-156.              Fundamentally, this

nondischargeability action seeks to establish the Debtor’s personal liability for his wrongful

conduct. It also seeks to establish his and his spouse’s joint liability for certain fraudulent, voidable

and preferential transfers of ARP’s money, which are germane to Debtor’s chapter 7 case for two

reasons. First, WEI also seeks to hold these resultant debts nondischargeable. And second, the

claims asserted jointly against Debtor and Mrs. Cluchey form the basis for an objection to the

exemption that Debtor has asserted in his residence at 7095 Mindew Drive SW, Byron Center,

Michigan 49315, which he owns jointly as tenants by the entireties with Mrs. Cluchey, and on

which there is no mortgage because he and his wife paid off the same largely with money taken

from ARP that was paid to it by Plaintiff, WEI for the purpose of completing the contract, which



  1
     Technically, Dale Rueckert was originally involved and purchased common shares for $2,000, but Mr. Cluchey
has made clear that Mr. Rueckert purchase no further shares, Mr. Rueckert lives and works in Wisconsin (where ARP
does not have an office), and Mr. Rueckert has no role in the day-to-day management or operation of ARP, which was
solely controlled, overseen and conducted by Mr. Cluchey in Michigan. See Complaint at 8-10, ¶ 35 (Dkt. No. 1),
ECF Pages 8-10 of 66.
                                                        2
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ARP, under Debtor’s sole control, did not do (and resulted in the judgment against ARP). See

Exhibit FF [Doc. No. 1-31] to Complaint; Joint Claim (Claim No. 1, Case No. 21-00524-jwb).

The Joint Claim and basis of claimed exemption are further discussed in Plaintiff, WEI’s Response

to the Motion to Dismiss filed by Mrs. Cluchey (Dkt. No. 18), which is incorporated by reference

herein.

          3.     In his Motion to Dismiss, Debtor incorrectly asserts that prepetition claims for

money damages can never be adjudicated in an adversary proceeding and must be asserted only

by way of a proof of claim. The cases he cites do not concern nondischargeability actions and do

not stand for the proposition that dismissal with prejudice is appropriate. Debtor’s assertions are

simply incorrect, particularly in the context of a nondischargeability action. The Sixth Circuit has

expressly held to the contrary, ruling that a bankruptcy court has “jurisdiction to adjudge the

validity and amount of a claim together with its dischargeability” and may enter a money judgment

against a debtor upon determining nondischargeability. McLaren, 3 F.3d at 965.

          4.     Debtor’s Motion to Dismiss makes no mention of McLaren or why it would not

apply in this case, opting instead to cite out-of-circuit cases that are factually distinguishable from

the Complaint and which do not concern cases regarding the dischargeability of debt. This Court

has jurisdiction—the applicable “authority”—to enter a money judgment on all of the claims

asserted by WEI against Debtor in Counts I through VII, for which WEI seeks a determination of

nondischargeability under 11 U.S.C. § 523(a)(2)(A) and (a)(6), as set forth in Counts VIII and IX

of the Complaint, Counts which Debtor has not moved to dismiss and has already answered.

Accordingly, the Motion to Dismiss, which argues no other basis for dismissal, should be denied.

          5.     A claim for personal liability on a debt sought to be held nondischargeable—to live

on after bankruptcy—is not pursued by way of a proof of claim. Instead, Rules 4007(a) and

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7001(6) of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”) confirm that this type

of affirmative relief cannot be sought through the claims process, but must be sought by way of an

adversary proceeding under Part VII of the Bankruptcy Rules. An end goal of the Complaint is a

nondischargeable judgment based on Debtor’s personal liability. Were the law as Debtor asserts,

Plaintiff would have no ability to obtain a judgment for personal liability on the debt sought to be

determined nondischargeable in this Court. But that is not the law and Debtor’s assertion is

squarely contradicted by Sixth Circuit precedent.

       6.      Debtor does not attempt to argue that Plaintiff, WEI has failed to state any of its

claims in Counts I through VII. In fact, he acknowledges the types of claims asserted within his

Motion to Dismiss, listing them by each Count, and simply objects that they “are not actions

brought pursuant to any section of the Bankruptcy Code” and are “pre-petition claims for monetary

damages.” Mot. to Dismiss at 2-3, ¶¶ 3 and 4 (Dkt. No. 11-1).

       7.      Instead, the Motion to Dismiss is an attempt to sidestep a determination of his

personal liability by alleging, without any on-point support or addressing applicable Sixth Circuit

precedent, that these claims can only be asserted by way of proof of claim against his estate. Were

this so, and the underlying claims could be dismissed with prejudice in exchange for only a proof

of claim against an estate, then section 523(a)(2)(A) and (a)(6) would be rendered merely

theoretical or very cumbersome. As a practical matter, Debtor’s personal liability has to be

determined in conjunction with determining dischargeability, in the context of an adversary

proceeding in accordance with Sixth Circuit precedent.

       8.      Debtor also raises an argument (albeit not by way of motion, but instead in the

“Introduction to Answer” in his (Corrected) Answer (Dkt. No. 14)) that Plaintiff should be required

to state more clearly what has already been stated in the Complaint; not because Debtor could not

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understand or respond to it, but apparently because he believes there is too much detail in the

Complaint. Yet at the same time, Debtor has already answered the Complaint with respect to

Counts VIII, IX, and X, and he has admitted many of the allegations of the detailed Complaint,

such that this issue has been waived under Rule 12(e) of the Federal Rules of Civil Procedure

(“Civil Rules”) and is moot. Further, such an argument is not supported by any case law, was not

properly raised by way of a motion, and therefore should not be entertained.

                                      Procedural History

       9.      Debtor filed his chapter 7 petition on March 2, 2021, and his case not been

converted or dismissed.

       10.     In his Schedule A/B (Dkt. No. 1), Debtor listed his residence, 7095 Mindew Drive

SW, Byron Center, MI 49315, as jointly owned with his non-filing spouse, Sherry D. Cluchey, as

tenants by the entireties, with a value of $250,000.00. See Schedule A/B (Dkt. No. 1) at ECF Page

10 of 59. He claimed that full value was exempt on Schedule C, and disclosed on Schedule D that

it is unencumbered. See Schedule C (Dkt. No. 1) at ECF Page 17 of 59; Schedule D (Dkt. No. 1)

at ECF Page 21 of 59.

       11.     On March 31, 2021, the Chapter 7 Trustee, Marcia R. Meoli (the “Trustee”), held

the meeting of creditors, but adjourned it until April 28, 2021. The Trustee has since adjourned

the meeting several times and it is currently scheduled to be held on July 21, 2021, subject to

further adjournment. Accordingly, a party in interest can still timely file an objection to the

tenancy-by-the-entireties exemption asserted by Debtor in his and Mrs. Cluchey’s unencumbered

residence pursuant to Rule 4003(b) of the Federal Rules of Bankruptcy Procedures (the

“Bankruptcy Rules”).



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       12.     As alleged in the Complaint, Debtor subsequently disclosed at his initial meeting

of creditors on March 31, 2021, that “he paid off the Second HELOC Mortgage [as defined in the

Complaint] with his company’s funds—funds of ARP—in May 2020, and subsequent to filing his

Voluntary Petition Comerica Bank released the Second HELOC Mortgage.” Complaint at 35, ¶

139 (Dkt. No. 1), ECG Page 35 of 66.

       13.     On April 27, 2021, the Trustee filed a Joint Claims Notice (Dkt. No. 23) in Debtor’s

chapter 7 case, which set a deadline for creditors to file “joint claims” in order to receive

distributions from “from the liquidation of real estate owned jointly by the Debtor and the Debtor’s

spouse (entireties property).” See Joint Claims Notice, In re Cluchey, Case No. 21-00524-jwb

(Bankr. W.D. Mich. April 27, 2021) (Boyd, J.), ECF No. 23.

       14.     On May 14, 2021, Plaintiff, WEI filed its Complaint for Money Judgment, to Avoid

and Recover Voidable Transactions and Determine Joint Debt, and to Determine Dischargeability

of Debt (the “Complaint”) (Dkt. No. 1).

       15.     Also on May 14, 2021, WEI filed its Joint Claim (the “Joint Claim”), Claim No. 1

on the Court’s claims register, which asserts joint claims against Debtor and Mrs. Cluchey of at

least $73,617.43, plus additional, presently unknown amounts.             These joint claims are

encompassed by the claims asserted in Counts IV, V, VI, and VII of the Complaint, as summarized

in the prayer for relief. See Complaint at 65, ¶ B (Dkt. No. 1), ECF Page 65 of 66. A copy of the

Complaint was attached to the Joint Claim. And a copy of the Joint Claim, without the voluminous

Complaint that was attached when filed, is attached to the Response to the Motion to Dismiss (Dkt.

No. 18) filed by Mrs. Cluchey, which WEI is filing contemporaneously with this Response.

       16.     On June 11, 2021, Debtor filed his Motion to Dismiss.




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        17.      That same day, Debtor also filed an Answer (the “Original Answer”) [Doc. No. 12].

On June 14, 2021, Debtor filed a (Corrected) Answer (the “Corrected Answer”) (Dkt. No. 14) and

a separate document titled “Defendant Larry Allen Cluchey’s Affirmative Defenses” (the

“Affirmative Defenses Document”) (Dkt. No. 15). The Original Answer, Corrected Answer, and

Affirmative Defenses Document are collectively referred to herein as the “Answer.”2

        18.      On June 14, 2021, Debtor’s non-filing spouse and Co-Defendant, Sherry D.

Cluchey, filed her Motion to Dismiss Count IV, Count V, Count VI, and Count VII (Dkt. No. 18).

        19.      On June 17, 2021, at the Trustee’s request, the Clerk of Court issued a Notice of

Possible Dividend to Creditors (Dkt. No. 32, Case No. 21-00524-jwb). Plaintiff has until mid-

September to file a proof of claim, separate and apart from its Joint Claim, in response to that

Notice which was issued pursuant to Rule 3002(c)(5) of the Bankruptcy Rules.

                                                  Background

        20.      The Complaint recites the lengthy factual background to this adversary proceeding,

which WEI incorporates by reference herein without restating the same. Although the factual

background is developed and detailed, and more than adequately supports the claims asserted in

Counts I through VII, the claims themselves are plainly stated. Debtor had no issue with answering

the detailed factual background or clearly identifying such claims within his Motion to Dismiss.

        21.      As set forth in the Complaint, WEI’s claims originated from a contract entered into

with Debtor’s wholly controlled and operated3 alter ego business entity, ARP. Complaint at 3,


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    The Original Answer included a recitation of affirmative defenses at the end. It appears that the only difference
between the Original Answer and the Corrected Answer is that the Corrected Answer is signed and the affirmative
defenses were moved to the separate Affirmative Defenses Document.
  3
    Technically, Dale Rueckert was originally involved and purchased common shares for $2,000, but Mr. Cluchey
has made clear that Mr. Rueckert purchased no further shares, Mr. Rueckert lives and works in Wisconsin (where
ARP does not have an office), and Mr. Rueckert has no role in the day-to-day management or operation of ARP,
which was solely controlled, overseen and conducted by Mr. Cluchey in Michigan. See Complaint at 8-10, ¶ 35 (Dkt.
No. 1), ECF Pages 8-10 of 66.
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¶ 10 (Dkt. No. 1), ECF Page 3 of 66. The contract that WEI entered into with ARP was for the

design, manufacture, and engineering of high-pressure adiabatic humidification systems. WEI

agreed to purchase, and ARP agreed to manufacture and deliver, a total of ten (10) adiabatic

humidifier systems for installation and use at the Memorial Sloan Kettering Cancer Center in New

York, New York. Complaint at 3, ¶ 11 (Dkt. No. 1), ECF Page 3 of 66.

       22.     This is an action, in part, to establish the personal liability of Mr. Cluchey to WEI

for the judgment that has already been entered against ARP, in favor of WEI, and to enter a money

judgment against him based upon the fraud he perpetrated upon WEI and because ARP’s corporate

veil should be pierced because it is Mr. Cluchey’s alter ego, which he has used to defraud WEI.

Complaint at 3, ¶ 12 (Dkt. No. 1), ECF Page 3 of 66. Further detailed factual background is set

forth in the Complaint at 4 5, ¶¶ 13 19, as well as the Background and Facts section of the

Complaint at 6 48, ¶¶ 23 189.

       23.     With respect to ARP, WEI has already obtained a final judgment against ARP in

Case No. 3:20-cv-01454-JZ (N.D. Ohio April 19, 2021) (defined as the District Court Action

below), ECF No. 24 for the amount of $1,938,150.27, which is attached to the Complaint as Exhibit

FF; however, WEI has no prospect of recovering these amounts except as against the Defendants

herein given that Mr. Cluchey has retired, shut down ARP, and ARP has no assets. See Complaint

at 42, 47 ¶¶ 168(s) and (t), 184.

       24.     As it concerns Mr. and Mrs. Cluchey, this adversary proceeding is also an action,

in part, to avoid and recover from them, as joint debts, certain fraudulent, voidable, and preferential

transfers of ARP’s money, much of which had been paid by WEI to ARP for the performance of

ARP’s obligations to WEI—to build certain adiabatic humidifier systems under the Contract (as

defined in the Complaint)—a Purchase Order #18126-013052-020119 for a total purchase price of

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$1,043,695.00. See Complaint at 3, 5, and 16, ¶¶ 11, 20, and 63 (Dkt. No. 1), ECF Pages 3, 5, and

16 of 66.

        25.      The fraudulent, voidable and preferential transfers at issue in Counts IV, V, VI, and

VII are described in the Complaint, in several places. See Complaint at 45, ¶¶ 172-174; at 48,

¶¶ 187-189; at 56-57, ¶ 218 (Count IV). Further, WEI has expressly reserved the right to, and has

put all parties on notice that it may, amend its Complaint to include any other transfers that ARP

made, which may be identified through the course of discovery, including but not limited to any

funds of ARP, or funds that should have been paid to ARP, that were used to pay prior mortgages

on Mr. and Mrs. Cluchey’s residence at 7095 Mindew Drive SW, Byron Center, Michigan 49315.

See Complaint at 48, ¶ 189 (Dkt. No. 1).

        26.      As is alleged in the Complaint and supported with a copy of the negotiable

instrument by which the transfer was made, on May 15, 2020, Mr. Cluchey caused his wholly

controlled business, ARP, to issue a check in the amount of $71,807.67 to Comerica Bank to pay

off the entire balance due and owing on the only mortgage against his and Mrs. Cluchey’s

residence. See Complaint at 31-35, ¶¶ 123-141 (Dkt. No. 1). And he did this a mere two days

after he repudiated the very contract with WEI under which WEI had paid ARP $96,320.78 only

two and half weeks before (without returning any of those funds to WEI). See Complaint at 4,

¶ 15. This and other categories of transfers of ARP’s assets as alleged in the Complaint (see pp.

35-37, 45, and 48) form the basis for the claims alleged in Counts IV through VII. As to the

Second HELOC Transfers4 used to pay down and pay off the equity line of credit on their



  4
    As defined in the Complaint and incorporated by reference herein, the term “Second HELOC Transfers” means
“an aggregate amount of $1,809.76 in minimum (i.e., interest) payments on the Second HELOC, plus the $71,807.67
payoff of the Second HELOC—a total of $73,617.43, which reduced their respective liability on the Second HELOC
and increased their equity in 7095 Mindew.” The term “Second HELOC,” in turn, is defined in the Complaint and
incorporated by reference herein to mean “a second home equity line of credit with Comerica Bank [taken out on or
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residence, and as to certain AmEx Transfers5 used to pay personal expenses, the claims are asserted

jointly against Mr. and Mrs. Cluchey, under the cited provisions of the Uniform Voidable

Transactions Act—MCL 566.34(a)(1) (Count IV), MCL 566.34(1)(b) (Count V), MCL 566.35(1)

(Count VI), and MCL 566.35(2) (Count VII). Mrs. Cluchey is named as a Defendant because she

was a person and insider for whose benefit the transfers of ARP’s assets—the Second HELOC

Transfers and AmEx Transfers (along with any Transfers identified through the course of

discovery)—were made.

         27.      As Debtor has already admitted in his Answer to the Complaint, WEI’s claim

against him for personal liability was the sole reason for his bankruptcy case and WEI is,

substantively, his only creditor, apart from a small number of very negligible claims. See

Complaint at 39-44, ¶¶ 162-171 (Dkt. No. 1); (Corrected) Answer at 52-61, ¶¶ 162-171 (Dkt. No.

14) (admitting many of the allegations of the Complaint).

         28.      Debtor has not argued that WEI failed to adequately allege the claims in Counts I

through VII under applicable state law—the traditional use of Rule 12(b)(6)—so the statement of

those claims has not been put at issue. Nonetheless, WEI will briefly summarize those claims,

which WEI asserts have been more than adequately stated, for the Court’s convenience as follows:

         a)       Count I—Piercing the Corporate Veil (against Defendant, Mr. Cluchey): This

                  claim is asserted under Ohio law and Michigan law, which both recognize piercing

                  the corporate veil as an equitable doctrine. See, e.g., Belvedere Condominium Unit


about August 12, 2019 by Mr. and Mrs. Cluchey], account number xxxxxxx1128, in the amount of $75,200.00, by
executing a Credit Agreement and Disclosure Statement—Home Equity Line of Credit.
   5
     As defined in the Complaint and incorporated by reference herein, the term “AmEx Transfers” means “amounts
to AmEx [American Express] on account of the ARP AmEx credit card account [a Business Gold Rewards credit card,
account ending x-x1009, that Mr. Cluchey used on a day-to-day basis to pay both his business and personal expenses,
including but not limited to meals, food, fuel, travel (lodging and air fare), and other purchases] and/or the Cluchey
AmEx credit card [personal AmEx Gold Delta SkyMiles credit card, account ending x-x1001, for which certain
charges were paid with ARP funds], which Mr. Cluchey used to pay personal expenses, including upon information
and belief, certain of the personal, family, and household expenses of Mr. Cluchey and/or Mrs. Cluchey.
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                  Owners’ Ass’n v. R.E. Roark Cos., Inc. 67 Ohio St.3d 274, 617 N.E.2d 1075, 1086

                  (1993); Belleville v. Hanby, 152 Mich. App. 548, 394 N.W.2d 412 (1986). Under

                  either state’s law, the allegations of the Complaint more than adequately allege a

                  claim that ARP was a mere instrumentality of Debtor, which he used to commit a

                  fraud or wrong, and that Plaintiff suffered an unjust loss. See, e.g., Servo Kinetics,

                  Inc. v. Tokyo Precision Instruments Co., 475 F.3d 783, 798 (6th Cir. 2007). See

                  Complaint at 49-51, ¶¶ 190-197 (and the prior paragraphs restated therein).

         b)       Count II—Fraud (against Defendant, Mr. Cluchey): This claim is asserted under

                  both Ohio and Michigan common law. See, e.g., Titan Ins. Co. v. Hyten, 491 Mich.

                  547, 555, 817 N.W.2d 562 (2012); Groob v. KeyBank, 2006-Ohio-1189, ¶ 47, 108

                  Ohio St.3d 348, 357, 843 N.E.2d 1170, 1178. The allegations of the Complaint are

                  replete with material misrepresentations made by Debtor, which were false, which

                  Debtor knew were false, which were made with the intention that Plaintiff would

                  advance ARP more money, that Plaintiff acted in reliance upon Debtor’s

                  representations, and that Plaintiff thereby suffered an injury. See Complaint at

                  51-53, ¶¶ 198-204 (and the prior paragraphs restated therein). Notably, many of

                  the facts support WEI’s claims are not simply allegations; rather, they are based

                  upon Debtor’s under-oath deposition testimony in the prior District Court Action6

                  that resulted in a judgment against ARP for more than $1.9 million.

         c)       Count III—Fraudulent Inducement (against Defendant, Mr. Cluchey): This claim

                  is asserted under Ohio and Michigan law. See, e.g., McGrath v. Nationwide Health



  6
   On July 1, 2020, WEI, as Plaintiff, filed a Complaint against ARP and Mr. Cluchey in the United States District
Court for the Northern District of Ohio, Western Division (the “District Court”), Case No. 3:20-cv-01454 (the “District
Court Action”).
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  Ins. Co., 295 F.Supp.3d 796, 812-813 (S.D. Ohio 2018) (applying Ohio law to deny

  the defendant’s summary judgment motion, noting the elements of a claim for

  fraudulent inducement are a false representation concerning a fact material to the

  transaction, knowledge of the falsity or utter disregard for its truthfulness, intent to

  induce reliance, justifiable reliance, and proximate injury); Llewellyn-Jones v.

  Metro Property Group, LLC, 22 F.Supp.3d 760, 778-79 (E.D. Mich. 2014)

  (applying Michigan law to the defendant’s motion to dismiss a fraudulent

  inducement claim, finding that plaintiff adequately alleged the elements of the

  claim, and noting the elements of a claim for fraudulent inducement are material

  representation, which is false, with knowledge of its falsity or made recklessly, with

  intention to induce reliance, reliance, and resulting damages). See Complaint at

  54-56, ¶¶ 205-216 (and the prior paragraphs restated therein). The Complaint more

  than sufficiently pleads this claim by alleging that Debtor intentionally

  misrepresented that he had already purchased equipment and material in

  anticipation that Plaintiff would award him the contract, for the purpose of

  “pressur[ing]” Plaintiff to do so; that Debtor intentionally misrepresented his

  capabilities to perform a contract of this size and type; that Debtor treated each

  “batch” of Units ordered by Plaintiff as a separate account receivable and

  intentionally misrepresented his intended uses for advance payments on each batch

  order; that Debtor made these statements with knowledge of their falsity and with

  intention to induce Plaintiff’s reliance; that Plaintiff in fact reasonably relied upon

  Debtor’s false statements; that the misrepresentations were material to Plaintiff; and

  that Plaintiff has been harmed as a result.

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        d)       Count IV—Violations of the Michigan Uniform Voidable Transactions Act—MCL

                 566.34(1)(a) (against Defendants, Mr. and Mrs. Cluchey): This claim concerns

                 transfers made with the intent to hinder, delay, or defraud creditors.                        The

                 subdivisions of MCL 566.34(2) “correspond to the historical badges of fraud,”

                 which “are circumstances so frequently attending fraudulent transfers that an

                 inference of fraud arises from them.” Dillard v. Schlussel, 308 Mich. App. 429,

                 449-450; 865 N.W.2d 648 (2014) (quotations and citation omitted). The allegations

                 of the Complaint more than adequately allege the elements for this claim, e.g., the

                 Transfers7 were to insiders of ARP, the Transfers were not disclosed to WEI, the

                 Transfers included a significant amount of ARP’s assets, ARP did not receive

                 reasonably equivalent value for the Transfers, and ARP was insolvent at the time

                 each Transfer was made or was rendered insolvent thereby. See Complaint at

                 56-57, ¶¶ 217-211 (and the prior paragraphs restated therein).

        e)       Count V—Violations of the Michigan Uniform Voidable Transactions Act—MCL

                 566.34(1)(b) (against Defendants, Mr. and Mrs. Cluchey): This claim concerns the

                 Transfers being made without receiving reasonably equivalent value in exchange

                 for the transfers while ARP (i) was engaged or was about to engage in a business

                 or a transaction for which the remaining assets of the debtor were unreasonably

                 small in relation to the business or transaction; or (ii) intended to incur, or believed

                 or reasonably should have believed that the debtor would incur, debts beyond the

                 debtor's ability to pay as they became due. MCL 566.34(1)(b). Claims under MCL



  7
     As defined in the Complaint and incorporated by reference herein, the term “Transfers” is defined to mean items
(a), (b), and (c) in paragraph 218—the Second HELOC Transfers, the AmEx Transfers, and the Honda Ridgeline
Transfers (each defined term also being defined within the Complaint).
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       566.34(1)(b) can be asserted by creditors whose claims arose after the transfer or

       creditors, like WEI, whose claims arose before the transfer. The allegations of the

       Complaint more than adequately allege and support the elements for this claim. See

       Complaint at 58, ¶¶ 222-227 (and the prior paragraphs restated therein).

f)     Count VI—Violations of the Michigan Uniform Voidable Transactions Act—MCL

       566.35(1) (against Defendants, Mr. and Mrs. Cluchey): This claim concerns the

       avoidance of transfers made without receiving a reasonably equivalent value in

       exchange for the transfers or while ARP was insolvent or that cause ARP to become

       insolvent as a result with respect to creditors, like WEI, whose claims arose prior

       to the transfers. MCL 566.35(1). MCL 566.35(1) differs from MCL 566.34(1)(b)

       in that MCL 566.35(1) requires a showing of “insolvency” at the time of the

       transfer, as that term is defined in MCL 566.32. The allegations of the Complaint

       more than adequately allege and support the elements for this claim. See Complaint

       at 59, ¶¶ 228-232 (and the prior paragraphs restated therein).

g)     Count VII—Violations of the Michigan Uniform Voidable Transactions Act—

       MCL 566.35(2) (against Defendants, Mr. and Mrs. Cluchey): This claim involves

       transfers voidable as to Mr. and Mrs. Cluchey as insider creditors of ARP who

       received payments for antecedent debts at times when ARP was insolvent and Mr.

       and Mrs. Cluchey had reasonable cause to believe that ARP was insolvent. MCL

       566.35(2). The allegations of the Complaint more than adequately allege the

       elements for this claim. See Complaint at 59-60, ¶¶ 233-239.




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                                                   Argument

I.       Legal Standard Applicable to the Motion to Dismiss.

         29.     It is worth noting what the Motion to Dismiss is not. Nowhere in the Motion to

Dismiss is there any allegation or argument that the Complaint fails to state the claims asserted

therein, particularly with respect to Counts I, II, III, IV, V, VI, and VII, which are the Counts

referenced in the Motion to Dismiss.8 Accordingly, Plaintiff, WEI will not restate all the ways in

which those claims are more than adequately stated, because that is not the gravamen of the Motion

to Dismiss. Rather, the sole alleged basis of the Motion to Dismiss is that the Counts at issue,

which seek to establish Debtor’s nondischargeable personal liability, should only be asserted by

way of a proof of claim against his estate—a procedural argument that is both incorrect and easily

dispensed with. To the contrary, both an adversary and proof of claim are appropriate.

         30.     “When a court is presented with a Rule 12(b)(6) motion, it may consider the

Complaint and any exhibits attached thereto, public records, items appearing in the record of the

case and exhibits attached to defendant's motion to dismiss so long as they are referred to in the

Complaint and are central to the claims contained therein.” Bassett v. Nat’l Collegiate Athletic

Ass’n, 528 F.3d 426, 430 (6th Cir. 2008). The court is required to “accept all factual allegations

[in the complaint] as true” and to “construe all inferences from those allegations in favor of the

plaintiff.” Kravitz v. Summersett (In re Great Lakes Comnet, Inc.), 588 B.R. 1, 10 (Bankr. W.D.

Mich. 2018) (citing Gavitt v. Born, 835 F.3d 623, 639-40 (6th Cir. 2016)).




     8
    Mr. Cluchey has not moved to dismiss, and has already answered, Counts VIII, IX, and X of the Complaint by
which Plaintiff, WEI seeks a determination that the debts described in Counts I, II, III, IV, V, VI, and VII are non-
dischargeable pursuant to 11 U.S.C. § 523(a)(2)(A) (Count VIII), are non-dischargeable pursuant to 11 U.S.C.
§ 523(a)(6) (Count IX), and determining that Mr. Cluchey should be denied a discharge pursuant to 11 U.S.C.
§ 727(a)(4) (Count X).
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         31.      While styled as a motion under Rule 12(b)(6) of the Civil Rules, the Motion to

Dismiss does not actually argue that the Complaint fails to state a claim—instead it argues that

this Court lacks authority to rule on the Complaint.9 As this Court previously noted in In re Ahlan

Indus., Inc., the standard that applies to a motion to dismiss for lack of jurisdiction under Rule

12(b)(1) varies depending on the type of jurisdictional “attack” raised:

                  A “facial attack” on the court's jurisdiction under Rule 12(b)(1),
                  which challenges “the complaint on its face without contesting its
                  alleged facts, is like a 12(b)(6) motion in requiring the court to
                  consider the allegations of the complaint as true.” Hartig Drug Co.
                  v. Senju Pharmaceutical Co., 836 F.3d 261, 268 (3d Cir. 2016)
                  (citation omitted); Ohio Nat’l Life Ins. Co. v. United States, 922 F.2d
                  320, 325 (6th Cir. 1990) (when reviewing a facial attack, “a trial
                  court takes the allegations in the complaint as true, which is a similar
                  safeguard employed under 12(b)(6) motions to dismiss”). By
                  contrast, when a 12(b)(1) motion presents a “factual attack” on the
                  court’s jurisdiction, no presumption applies to the truthfulness of the
                  factual allegations in the complaint and the court must “weigh the
                  conflicting evidence to arrive at the factual predicate that subject
                  matter jurisdiction exists or does not exist.” Ohio Nat’l Life Ins., 922
                  F.2d at 325.

In re Ahlan Indus., Inc., No. 20-80136, 2021 WL 2134654, at *5 (Bankr. W.D. Mich. May 25,

2021).

         32.      Here, the Motion to Dismiss presents a facial attack on the Court’s ability to enter

a money judgment against Mr. Cluchey—it does not challenge the facts underlying the Court’s

authority. Accordingly, the Court should accept the factual allegations in the Complaint as true

for purposes of ruling on the Motion to Dismiss.



   9
     Beyond citation to the rule, Mr. Cluchey does not provide any substantive argument that Plaintiff failed to state
its claims pursuant to Rule 12(b)(6). Because the Motion to Dismiss fails to properly articulate cause for dismissal
under Rule 12(b)(6), Plaintiff is not required to respond to, and the Court should not consider, an argument that the
Complaint fails to state a claim. See McCracken v. Thor Motor Coach Inc., No. CV-15-00029-PHX-ROS, 2015 WL
13566918, at *3 (D. Ariz. Dec. 3, 2015) (declining to consider arguments not properly raised in motion to dismiss).
To the extent that Mr. Cluchey attempts to argue matters beyond the scope of the Motion to Dismiss in a reply or at
hearing, Plaintiff expressly reserves the right to ask the Court to strike such argument or permit a surresponse to the
same.
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           33.      The legal issue raised by the Motion to Dismiss is actually one of jurisdiction, not

the failure to state a claim; Debtor, in fact, acknowledges and understands the claims asserted. See

Mot. to Dismiss at 2-3, ¶¶ 6 and 7 (“Each of Counts I through VII allege a cause of action against

Defendant Larry Allen Cluchey that arose pre-petition.”). It is clear that the Motion to Dismiss

(and the (Corrected) Answer) do not raise any issues with the sufficiency of the allegations of the

Complaint for which a Twombly analysis is applicable; rather, Debtor has actually complained of

the opposite—that Plaintiff pled its claims with too much particularity.

           34.      Debtor focuses solely on Rule 7001 of the Bankruptcy Rules. See Mot. to Dismiss

at 3-6, ¶¶ 8-15. This is a rule of procedure, not a statute or common law basis for a claim. It does

not set forth any elements of a claim or establish a right of relief, it merely sets forth a

non-exclusive list of categories of proceedings that should be brought by way of an adversary

proceeding in bankruptcy court.10

II.        The Motion to Dismiss Counts I through VII is Without Any Basis and Should Be
           Denied.

           35.      In his Motion, Debtor asserts that Counts I through VII of the Complaint should be

dismissed because (i) they seek only money damages against Debtor based upon his prepetition

conduct and (ii) money damages claims do not fall within Rule 7001’s “exclusive list” of actions

that may be brought by adversary proceeding. These arguments are not supported by applicable

Sixth Circuit case law, nor can they possibly apply within the context of a nondischargeability

action.

           36.      Counts VIII and IX of the Complaint assert nondischargeability claims under

section 523(a)(2)(A) and (a)(6) of the Bankruptcy Code. Accordingly, on its face, this adversary



  10
       Debtor concedes that there is case law contrary to that which he relies upon. See Mot. to Dismiss at 4-5, ¶ 11 &
n.1.
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proceeding is, in part, a “proceeding to determine the dischargeability of a debt.” Fed. R. Bankr.

P. 7001(6).

       37.      Proving the existence of a debt is a prerequisite to determining its

nondischargeability, and both the Sixth Circuit and this Court have expressly stated a bankruptcy

court may enter a money judgment against a debtor when determining nondischargeability of that

debt. In re McLaren, 3 F.3d 958, 965 (6th Cir. 1993); State of Michigan v. Green (In re Green),

556 B.R. 853, 858 (Bankr. W.D. Mich. 2016) (Boyd, J.) (noting that the court has “constitutional

authority to enter a final money judgment in a dischargeability action”) (citing Hart v. Southern

Heritage Bank (In re Hart), 564 F. App’x 773, 776 (6th Cir. 2014) (unpublished)); see also Vande

Ryt v. Peace (In re Peace), 546 B.R. 65, 69 (Bankr. S.D. Ohio 2015) (observing that the threshold

issue when a prepetition claim is unliquidated is whether a debt exists, which bankruptcy courts in

the Sixth Circuit possess jurisdiction to determine) (citing McLaren); In re Hatch, 465 B.R. 479,

482 (Bankr. W.D. Mich. 2012); In re Russell, 463 B.R. 464, 467 (Bankr. W.D. Mich. 2012); In re

Marks, No. AP 14-80301, 2015 WL 471608, at *2 (Bankr. W.D. Mich. 2015). In fact, even since

the Supreme Court of the United States’ ruling in Stern (and before that ruling), “the vast majority

of the courts to consider the issue have concluded that the bankruptcy courts have both subject

matter jurisdiction and constitutional authority to liquidate such debts in the context of

dischargeability actions.” Harvey v. Dambowsky (In re Dambowsky), 526 B.R. 590, 597 & 597

n.6 (Bankr. M.D.N.C. 2015) (citing Stern v. Marshall, 564 U.S. 462, 131 S.Ct. 2594, 2615-18, 180

L.Ed.2d 475 (2011) (citing Katchen v. Landy, 382 U.S. 323, 86 S.Ct. 467, 15 L.Ed.2d 391 (1966);

and Langenkamp v. Culp, 498 U.S. 42, 111 S.Ct. 330, 112 L.Ed.2d 343 (1990) (per curiam)), and

observing that such an additional plenary suit “would be a meaningless gesture”) (additional

citations omitted).

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       38.     Viewed in the proper framework, the Motion to Dismiss simply highlights that the

Counts at issue do not “arise under” the Bankruptcy Code, but rather are “related to” or “arise in”

a bankruptcy case. They are nevertheless properly within this Court’s jurisdiction and Part VII of

the Bankruptcy Rules does not change this analysis. Rule 7001 does not supplant 28 U.S.C. § 1334

and is not a basis for dismissal of claims. See, e.g., United Student Aid Funds, Inc. v. Espinosa,

559 U.S. 260, 272, 130 S.Ct. 1367, 1378, 176 L.Ed.2d 158 (2010) (the Bankruptcy Rules are

“procedural rules adopted by the Court for the orderly transaction of its business” that are “not

jurisdictional”) (citing Kontrick v. Ryan, 540 U.S. 443, 454, 124 S.Ct. 906, 157 L.Ed.2d 867

(2004)); 10 Collier on Bankruptcy ¶ 7001.07 (16th ed. 2016). Moreover, these claims are properly

asserted pursuant to Rules 4007 and 7001 of the Bankruptcy Rules within this nondischargeability

proceeding, as they must be.

       39.     As they relate to Debtor, Counts I through VII of the Complaint set forth debts that

Plaintiff asserts are nondischargeable under Counts VIII and IX. Accordingly, to the extent that

any of those debts are declared nondischargeable, this Court has authority to enter a money

judgment for same in this adversary proceeding, pursuant to McLaren, Green, and this Court’s

“related to” jurisdiction under 28 U.S.C. § 1334. In fact, the same argument was made by the

debtor, and was rejected by the Sixth Circuit, in McLaren. See 3 F.3d at 965 (stating that

“McLaren’s final argument is that while there is authority in the Bankruptcy Code for the

bankruptcy court to determine whether a debt is dischargeable under section 523, there is no

authority for the court to render a money judgment thereon” but noting that “the bankruptcy court

has jurisdiction to adjudge the validity and amount of a claim together with its dischargeability.”).

       40.     Debtor’s argument that Plaintiff’s claims should be adjudicated through the claims

allowance process lacks merit. Each of the cases cited by Debtor addresses prepetition claims that

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creditors sought to litigate via adversary proceeding but could have been asserted solely by way

of a proof of claim because no dischargeability determination had been sought. None of the case

law cited in the Motion to Dismiss addresses the situation where a money damages judgment is

sought in conjunction with a determination of the dischargeability of the debt—the exact situation

addressed in the case law cited by Plaintiff herein. See, e.g., Barrientos v. Wells Fargo Bank, N.A.,

633 F.3d 1186, 1191 (9th Cir. 2011) (contempt proceeding under 11 U.S.C. § 524 are contested

matters and not adversary proceedings); In re Aegis Mortg. Corp., No. 07-11119 (BLS), 2008 WL

2150120, at *7 (Bankr. D. Del. May 22, 2008) (finding that the court lacked jurisdiction over third

party homeowner’s claim to rescind mortgage that debtors had transferred to a third-party

prepetition because it would have no impact on their estates (while expressly recognizing that

“there may be cases where an action against a non-debtor or a non-debtor’s property may have an

effect on a debtor's estate”) and finding that related claim for money damages under the Truth in

Lending Act and the Real Estate Settlement Procedures Act was an unsecured claim to be

adjudicated through the claims allowance process and not by adversary proceeding); In re Lernout

& Hauspie Speech Prod., N.V., 264 B.R. 336, 340 (Bankr. D. Del. 2001) (subordination claim

under 11 U.S.C. § 510(b) is not limited to allowed claims and thus is not an adversary proceeding

under Bankruptcy Rule 7001(8)); The DBL Liquidating Trust v. P.T. Tirtamas Majutama (In re

Drexel Burnham Lambert Grp., Inc.), 148 B.R. 993, 998 (S.D.N.Y. 1992) (finding contract claim

not an adversary proceeding under Bankruptcy Rule 7001 where nondischargeability claim had

previously been dismissed and not repleaded); In re Ephedra Prod. Liab. Litig., 329 B.R. 1, 7

(S.D.N.Y. 2005) (finding that court is not compelled to apply Bankruptcy Rule 7023 to “class

proofs of claim” and that related civil RICO claims brought by adversary proceeding should be

adjudicated through the proof of claim process); In re Cir. City Stores, Inc., No. 08-35653-KRH,

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2010 WL 120014, at *5 (Bankr. E.D. Va. Jan. 7, 2010), as corrected (Jan. 11, 2010) (money

damages claims based on WARN Act violations should be adjudicated through the claims

allowance process); In re Buildings by Jamie, Inc., 230 B.R. 36, 46 (Bankr. D.N.J. 1998)

(creditors’ claims based on failure to repay loan should be adjudicated via claims allowance

process). Furthermore, none of the foregoing cases cited by Debtor stands for the proposition that

Bankruptcy Rule 7001, a rule of procedure, is a basis to dismiss a claim with prejudice.

       41.     Regardless, Debtor has not attacked the validity of the claims stated in Counts I

through VII based upon the applicable provisions of state law and there is no basis alleged by

Debtor to dismiss the claims under Rule 12(b)(6), nor to dismiss the claims with prejudice or to

award any attorney’s fees in this circumstance.

       42.     A proof of claim only results in a distribution from estate assets; it results in neither

a judgment nor in a determination of nondischargeability. As noted above, the Sixth Circuit has

clearly held that this Court may enter a money damages judgment when determining

dischargeability.   And pursuant to Rules 4007(a) and 7001(6), a proceeding to determine

dischargeability of debt may only be brought by adversary proceeding. Plaintiff cannot be awarded

the affirmative relief it seeks by way of proof of claim, which would only serve to obtain Plaintiff

a share of the distribution of estate assets, not a nondischargeable judgment. See, e.g., Fed. R.

Bank. P. 3007(b) (a claim objection may be included in an adversary proceeding, but a demand

for relief under Rule 7001 cannot be included in an objection to the allowance of a claim). The

relief Plaintiffs seek in Counts I through III is not payment from the estate; rather, it is a personal

judgment against Debtor for the debts that Plaintiff seeks to have declared nondischargeable,

which will live on outside of the bankruptcy case after it has concluded.




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       43.     Even if it were determined that another court, such as the United States District

Court for the Northern District of Ohio (in which Counts I, II, and III for piercing the corporate

veil, fraud, and fraudulent inducement claims were first asserted against Debtor in the District

Court Action) should enter the judgment for Debtor’s personal liability—an approach that would

be inefficient at this point—the remedy in this Court would not be a dismissal with prejudice of

those claims, but rather abstention or withdrawal of the reference for determination of the claims

in another forum—a result not warranted by the circumstances of this case. See, e.g., Cowan v.

Ladosenszky (In re Ladosenszky), 617 B.R. 275, 277 (Bankr. E.D. Mich. 2020) (“Normally, in

determining the dischargeability of a debt, the Court must adequately identify the debt at issue,

and often this means that the Court must quantify the debt at issue.” But dismissing, without

prejudice, or abstaining under 28 U.S.C. § 1334(c)(1), from determining the amount of debt owing

under a judgment of divorce previously entered by the Wayne County, Michigan Circuit Court

because “the State court in the divorce case can and should decide what the correct amount of the

debt is.”). This adversary, however, does not concern domestic support obligations and a judgment

has not been previously entered against Debtor.

       44.     At the time the Complaint was filed, the Trustee had not solicited proofs of claim

for general unsecured claims—she had only solicited joint claims (claims against both Mr. and

Mrs. Cluchey) for the purpose of evaluating Debtor’s tenancy-by-the-entireties exemption and

potentially liquidating the property subject to the exemption. See Joint Claims Notice (Dkt. No.

23, Case No. 21-00524-jwb). As noted above, on May 14, 2021, Plaintiff filed its Joint Claim

asserting the same joint claims against Mr. and Mrs. Cluchey described in certain Counts of the

Complaint. Neither Mr. nor Mrs. Cluchey has objected to the Joint Claim filed by Plaintiff. Nor

has a proof of claim yet been filed. But even if contested matters arise with respect to the Joint

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Claim or a future proof of claim, it will not divest this court of jurisdiction over this adversary

proceeding—jurisdiction that the Sixth Circuit clearly has held this Court has (and this Court has

previously acknowledged). The Court will simply need to decide at that point how best to proceed,

and efficiency commends that any such contested matter should be consolidated with this

adversary proceeding for the purpose of efficient adjudication pursuant to Rule 42(a) of the Civil

Rules, made applicable by Rule 7042 of the Bankruptcy Rules. The fact that a claim objection

may yet be filed in no way restricts the Court’s authority to enter a judgment determining both

money damages and nondischargeability under McLaren.

        45.     Nondischargeability actions are inherently based upon prepetition conduct and

claims. If Debtor were correct that these can only be asserted by way of proof of claim, then no

creditor could ever obtain a judgment for relief on such claims in bankruptcy court in conjunction

with seeking a determination of the dischargeability of debt. This is clearly not the law. See, e.g.,

McLaren, 3 F.3d at 965 (citing N.I.S. Corp. v. Hallahan (In re Hallahan), 936 F.2d 1496, 1508

(7th Cir. 1991) for the proposition that “empaneling a jury in bankruptcy court in the midst of a

dischargeability proceeding, or referring the matter back to the district court for a jury trial ‘creates

a cumbersome process.’ ”).

        46.     The Supreme Court of the United States has likewise recognized that a debtor’s

liability for fraudulent conveyances that impair a creditor’s ability to collect a debt, which is a

prepetition claim, can be held nondischargeable under section 523(a)(2)(A). See Husky Int’l

Elecs., Inc. v. Ritz, --- U.S. ----, 136 S. Ct. 1581, 194 L.Ed.2d 655 (2016); see also Cohen v. de la

Cruz, 523 U.S. 213, 219, 118 S. Ct. 121, 140 L.Ed.2d 341 (1998).

        47.     An adversary proceeding is precisely the procedure, and the most efficient and cost-

effective procedure, by which to raise the claims asserted in WEI’s Complaint against Debtor in

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this Court. The alternative would be to send the liability determination back to the United States

District Court for the Northern District of Ohio; however, in this case, in which a judgment for

Debtor’s liability has not yet been entered, the liability determination would be difficult to

unbundle from the dischargeability determination, and is an approach which seems neither

efficient nor desirable for the ultimate administration of Debtor’s bankruptcy.

III.   To the Extent Debtor’s Answer Seeks Any Relief under Rule 12, That Relief Should
       Be Denied.

       48.     Debtor’s Answer is unusual in that it includes seven introductory paragraphs that

essentially read like a motion for a more definite statement, yet were not included in his separately

filed Motion to Dismiss. The arguments made in these paragraphs can be fairly summarized as

requesting that the Court require a more definite statement because the Complaint is too detailed.

       49.     Much case law exists discussing the standards for dismissing complaints that fail

to meet the notice pleading requirements set forth in Bell Atl. Corp. v. Twombly, 550 U.S. 544

(2007) and Ashcroft v. Iqbal, 556 U.S. 662 (2009), neither of which is at issue in this case. Counsel,

however, has not been able to find any cases requiring a more definite statement on the grounds

that the Complaint is too detailed—that it asserts more than the minimum quantum of facts

required by the Civil Rules and Bankruptcy Rules.

       50.     Debtor does not assert that Plaintiff has failed to state valid claims. Accordingly,

Rule 12(b)(6) is not applicable. Without attacking the merits of Complaint—many of the

allegations of which Debtor has already admitted in his Answer—Debtor argues for dismissal

based on a very strained reading of the Bankruptcy Rules. Although the Complaint is lengthy, due

mostly to the developed nature of the factual history, and to ensure its compliance with Rule 9 of

the Civil Rules, the Counts that Plaintiff asserts against Debtor are plainly stated and certainly

understandable (as evidenced by him already answering the same).
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       51.     Plaintiff asserts that its ability to plead its case with such particularity (and that

Debtor has already answered and admitted many of those allegations) speaks to the strength of the

claims asserted, not any deficiency in stating those claims.

       52.     Accordingly, to the extent Debtor’s Answer seeks a more definite statement,

separate and apart from his Motion to Dismiss, that relief was not properly requested, has been

waived, is moot, should not be entertained, and should be denied.

                                            Conclusion

       WHEREFORE, Plaintiff, WEI, respectfully requests that this Court deny the Motion to

Dismiss in its entirety as lacking any basis in law and being asserted in direct contravention to the

Sixth Circuit precedent, McLaren cited herein; and that this Court, if it should decide to entertain

the request for a more definite statement asserted in the Answer, deny the same in its entirety as

having not been properly asserted by way of motion, having been waived under Rule 12(e) of the

Civil Rules, lacking any basis in law and the Civil Rules, and being moot by virtue of the Answer

already filed by Debtor.

                                                  ICE MILLER LLP


Dated: July 9, 2021                               /s/ Tyson A. Crist
                                                  Tyson A. Crist
                                                  John C. Cannizzaro
                                                  250 West Street, Suite 700
                                                  Columbus, OH 43215
                                                  Phone: (614) 462-2243
                                                  Fax: (614) 224-3266
                                                  tyson.crist@icemiller.com
                                                  john.cannizzaro@icemiller.com

                                                  Counsel for Plaintiff,
                                                  World Energy Innovations, LLC,
                                                  f/d/b/a Worthington Energy Innovations, LLC


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 9, 2021, PLAINTIFF’S RESPONSE IN OPPOSITION TO

DEFENDANT LARRY ALLEN CLUCHEY’S MOTION TO DISMISS COUNT I, COUNT II,

COUNT III, COUNT IV, COUNT V, COUNT VI, AND COUNT VII OF THE INSTANT

ADVERSARY PROCEEDING was filed electronically with the Clerk using the Court’s CM/ECF

system, which sent notification of such filing to all counsel of record, at the following addresses:

      Steven Mark Bylenga steve@cbhattorneys.com, nikki@chasebylenga.com,
       molly@cbhattorneys.com, teresa@chasebylenga.com, kelly@cbhattorneys.com,
       1140866420@filings.docketbird.com, bylengasr74219@notify.bestcase.com,
       jo@cbhattorneys.com, jsw@cbhattorneys.com

      Robert F. Wardrop bkfilings@wardroplaw.com, bkrfilings@wardroplaw.com,
       bkwalfilings@wardroplaw.com

       And I hereby further certify that on July 9, 2021, copies of the foregoing PLAINTIFF’S

RESPONSE IN OPPOSITION TO DEFENDANT LARRY ALLEN CLUCHEY’S MOTION TO

DISMISS COUNT I, COUNT II, COUNT III, COUNT IV, COUNT V, COUNT VI, AND COUNT

VII OF THE INSTANT ADVERSARY PROCEEDING were served by first-class U.S. Mail, postage

prepaid, and properly addressed to the following:

       Larry Allen Cluchey
       7095 Mindew Drive SW
       Byron Center, MI 49315

       Sherry D. Cluchey
       7095 Mindew Drive SW
       Byron Center, MI 49315

       Office of the U.S. Trustee
       The Ledyard Building, 2nd Floor
       125 Ottawa NW, Suite 200R
       Grand Rapids, MI 49503




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                                        ICE MILLER LLP


Dated: July 9, 2021                     /s/ Tyson A. Crist
                                        Tyson A. Crist
                                        John C. Cannizzaro
                                        250 West Street, Suite 700
                                        Columbus, OH 43215
                                        Phone: (614) 462-2243
                                        Fax: (614) 224-3266
                                        tyson.crist@icemiller.com
                                        john.cannizzaro@icemiller.com

                                        Counsel for Plaintiff,
                                        World Energy Innovations, LLC,
                                        f/d/b/a Worthington Energy Innovations, LLC




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